 Barbara Currie Carlson, a/k/a Barbara Carlson, a/k/a Barbara Currie and Jurgen Denk, Petitioners/Cross-Respondents  v.  Sheldon Spiegelman, Respondent/Cross-Petitioner No. 22SC466Supreme Court of Colorado, En BancJanuary 23, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 20CA1426
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      and Cross-Petition for Writ of Certiorari DENIED.
    
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